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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.270 Page 1 of 18

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UNITED STATES DISTRICT COURT

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SOUTHERN DISTRICT OF €ALIFORNIA 4

January 2019 Grand Jury

20CR0160 #

 

UNITED STATES OF AMERICA, Case No
Plaintiff, INDE CIMENT i
Vv. Title Se, U.S.C., Sec. 371 - 3
Conspiracy to Commit Securities
ONGKARUCK SRIPETCH (1), Fraud, Manipulative Trading;
aka King Richards, Titie 15, U.S.C., Secs. 784 (b),
aka Shelby Saint-Claire, 78ff, and Title 17, C.F.R.,
MICHAEL WEXLER (2), sec. 240.10b-5 - Securities Fraud;

Title 15, U.S.C., Secs. 78i(a) (1),

ASHMIT PATEL (3), 78f£f - Manipulative Securities

ANDREW MCALPINE (4), Trading; Title 18, U.S.C., Sec. 2 -
Aiding and Abetting; Title 18,
Defendants. U.S.C., Sec. 981 (a) (1) (Cc) and

Title 28, U.S.C., Sec. 2461(c) -
Criminal Forfeiture

 

 

 

 

The grand jury charges at all times relevant herein:
INTRODUCTORY ALLEGATIONS
Relevant Individuals and Entities

1. Defendant ONGKARUCK SRIPETCH, aka King Richards, aka Shelby
Saint-Claire, a resident of Las Vegas, Nevada, ran a stock promotion
website cailed Stockpalooza, and controlled several entities, including
King Mutual Solutions, Inc., Optimus Prime Financial, Inc. (“Optimus
Prime”), and Adtron, Inc. (“Adtron”).

2. Defendant MICHAEL WEXLER, a resident of Ottawa, Ontario,
Canada, was the chief executive officer of VMS Rehab Systems, Inc. (“VMS

Rehab Systems”), and Argus Worldwide Corp. (“Argus Worldwide”), and

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.271 Page 2 of 18

controlled the entities Derving Enterprises Ltd. (“Derving Enterprises”).
and Spectrum Global Diversified Corp. (“Spectrum Global”).

3. Defendant ASHMIT PATEL, a resident of Oakville, Ontario,
Canada, was a lawyer and was admitted to the Tllinois State Bar
Association in November 2012, PATEL maintained a domestic brokerage
account with GP Nurmenkari, Inc.

4, Defendant ANDREW MCALPINE, a resident of Grand Cayman, Cayman
Isiands, maintained an offshore brokerage account in the name of
Dunstaffnage Corporation with Seven Mile Securities in the Cayman
Islands (“Offshore Brokerage Account”).

3. VMS Rehab Systems was headquartered in Ottawa, Ontario,
Canada. VMS Rehab Systems traded on the OTC Markets — a financial market
that provides information for over-the-counter securities — under the
ticker symbol “VRSYF.” VMS Rehab Systems stock was thinly traded and
the market for its stock was illiquid. According to its website, VMS
Rehab was in the business of selling “quality of life orthopedic seat
cushions for the home healthcare sector.”

6. Argus Worldwide was headquartered in Cheyenne, Wyoming with
affiliate offices in Poland, Canada, and the Netherlands. Argus
Worldwide traded on the OTC Markets under the ticker symbol “ARGW.”
Argus Worldwide stock was thinly traded and the market for its stock was
illiquid. According to a press release, ARGW was engaged in various
“pusiness segments including . . . digital/internet products and
services, smart consumer electronic products and health industries such
as generic pharmaceuticals.”

7. Confidential Witness 1 (“CW-1"), was a resident of California,

and maintained several domestic brokerage accounts in CW-1’s name. CW-1

 

 
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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.272 Page 3 of 18

was the president of Company 1 and maintained multiple bank accounts and].
brokerage accounts in Company 1’s name.

8. Company 2 was an entity that served as an intermediary between
stock promoters and stock promotion publications,

9. A pump-and-dump scheme was a fraudulent scheme that typically
involved the artificial inflation of the stock price of a publicly-
traded company (the "pump") so that individuals who control a substantial
portion of the company's stock can sell shares of that stock at
artificially high prices to other investors (the "dump"). Generally,
such schemes effected the artificial inflation in share price by, among
other things, issuing news releases and promotional materials regarding
the company and its stock - often containing false, misleading, or
exaggerated information - and by engaging in manipulative trading of the
stock to affect its price and generate the appearance of demand for the
shares.

10. A manipulative trading scheme was a fraudulent scheme that
involved practices, including matched trades - i.e., selling (or buying)
stock at pre-arranged prices and volumes - carried out for the purpose
of creating the false and misleading appearance of (a) trading activity
for such stock, and (b}) the market for such stock.

Count 1 - Conspiracy

 

(18 U.S.C. § 371)
li. Paragraphs 1 through 10 of the Introductory Allegations above

are re-alleged as if fully set forth herein.
12. Beginning on a date unknown to the Grand Jury but no later
than September 2014, and continuing until in or around January 2017,
within the Southern District of California and elsewhere, defendants
ONGKARUCK SRIPETCH, aka King Richards, aka Shelby Saint-Claire, MICHAEL

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.273 Page 4 of 18

WEXLER, and ASHMIT PATEL, and other individuals.and entities known and
unknown to the Grand Jury, did knowingly and intentionally conspire to
commit offenses against the United States, that is,

a. securities fraud, namely, tc knowingly and willfully,
directly and indirectly, by the use of the means and instrumentalities
of interstate commerce and of the mails, use and employ manipulative and
deceptive devices and contrivances in connection with the purchase and
sale of securities by {a) employing devices, schemes and artifices to
defraud, (b) making and causing to be made untrue statements of material
fact, and omitting to state material facts necessary in order to make
the statements made, in light of the circumstances under which they were
made, not misleading, and (c) engaging in acts, practices, and courses
of business which operated and would operate as a fraud and deceit upon
any persons, including members of the investing public and sellers and
purchasers of the securities of VMS Rehab Systems in violation of
Title 15, United States Code, Sections 784 (b), 78£f, and Title 17, Code
of Federal Regulations, Section 240.10b-5; and

b. manipulative securities trading, namely, to knowingly and
willfully, directly and indirectly, by the use of the mails and any
means and instrumentality of interstate commerce, and of any facility
of any national securities exchange, for the purpose of creating a false
and misleading appearance of active trading in any security other than
a government security, anda false and misleading appearance with respect
to the market for any such security, (a) entering an order and orders
for the purchase of such security with the knowledge that an order and
orders of substantially the same size, at substantially the same time,
and at substantially the same price, for the sale of any such security,

has been and will be entered by and for the same and different parties,

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.274 Page 5 of 18

and (b) entering any order and.orders for the sale of any such security
with the knowledge that an order and orders of substantially the same
size, at substantially the same time, and at substantially the same
price, for the purchase of such security, has been and will be entered
by and for the same and different parties, in violation of Title 15,
United States Code, Sections 78i(a)(1) and 78ff.
MANNER AND MEANS OF THE CONSPTRACY

13. In furtherance of their conspiracy, and to effect its objects,
SRIPETCH, WEXLER, and PATEL used the following manner and means, among
others:

a. PATEL acquired 12 million shares of VMS Rehab Systems
stock, purportedly in exchange for providing legal services.

b. PATEL made misrepresentations to his brokerage firm in
order to deposit and trade the shares of VMS Rehab Systems stock through
his brokerage account.

Cc. SRIPETCH and CW-i engaged in manipulative trading in the
stock of VMS Rehab Systems for the purpose of creating a false or
misieading appearance of active trading in VMS Rehab Systems stock, and
a false or misleading appearance with respect to the market for VMS
Rehab Systems stock.

d. WEXLER issued press releases about VMS Rehab Systems in
order to generate interest in the company and its stock, and to provide
material to be used in third-party promotions of VMS Rehab Systems stock.

e. SRIPTECH promoted, and caused the promotion of, VMS Rehab
Systems and its stock in order to artificially avoid the deflation of,
Maintain, and inflate the share price of VMS Rehab Systems stock.

f. PATEL sold VMS Rehab Systems stock from his brokerage
account into the open market at inflated prices, which the defendants

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.275 Page 6 of 18

manipulated: by «promoting VMS Rehab Systems and its stock without
disclosing their plan to sell such stock during the promotions and after
a period of manipulative trading.

g. After selling VMS Rehab Systems stock, PATEL transferred
a portion of the proceeds to a Company 1 bank account controlled by
CW-i. CW-i, in turn, transferred a portion of the proceeds to CW-1’s
personal bank account and another portion of the proceeds to an Optimus
Prime bank account controlled by SRIPETCH.

h. During the time period when PATEL sold VMS Rehab Systems
stock, PATEL transferred money from an interest only lawyer trust account
(“IOLTA”) he controlled to a Spectrum Global bank account controlled by
WEXLER as payment for WEXLER’s participation in the conspiracy.

OVERT ACTS
14, In furtherance of the conspiracy and to effect and accomplish
the objects thereof, the following overt acts, among others, were
committed within the Southern District of California and elsewhere:

a. On or about September 2, 2015, PATEL and WEXLER entered
inte an attorney fee agreement whereby PATEL agreed to act as VMS Rehab
Systems’ corporate counsel for 45 days in exchange for 10 million shares
of VMS Rehab Systems stock.

b, On or about April 29, 2016, around 12:58 p.m., CW-1
entered an order to sell VMS Rehab Systems stock from a brokerage account
held in CW-i’s name for $1.78 per share. Around 1:25 p.m., SRIPETCH
entered an order to purchase VMS Rehab Systems stock from an account
held in SRIPETCH’s name for $1.78 per share. A corresponding trade for
200 shares at $1.78 per share was executed in the market.

Cc. On or about May 18, 2016, around 2:48 p.m., SRIPETCH
entered an order to sell VMS Rehab Systems stock from a brokerage account

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.276 Page 7 of 18

held in: CWl’s name for $1.88 per share. Around 2:49 p.m., CW-1 entered
an order to purchase VMS Rehab Systems stock from another brokerage
account held in CW-1’s name for $1.88 per share. A corresponding trade
for 500 shares at $1.88 per share was executed in the market.

d. On or about May 23, 2016, around 3:14 p.m., CW-1 entered
an order to purchase VMS Rehab Systems stock from a brokerage account
held in CW-1’'s name for $2.05 per share. Around 3:33 p.m., SRIPETCH
entered an order to sell VMS Rehab Systems stock from a brokerage account
held in SRIPETCH’s name for $2.05 per share. A corresponding trade for
500 shares at $2.05 per share was executed in the market.

e, On or about May 24, 2016, SRIPETCH wired, or caused to
be wired, $26,000 from an Optimus Prime bank account to Company 2 to
facilitate a promotion of VMS Rehab Systems and its stock.

f. On or about July 6, 2016, WEXLER issued, or caused to be
issued, a press release from VMS Rehab Systems announcing a preliminary
sales forecast of $38 million through 2022 for a generic drug that VMS
Rehab Systems purportedly was developing and testing.

g. On or about October 27, 2016, WEXLER signed a written
resolution of the VMS Rehab Systems Board of Directors authorizing Island
Stock Transfer to issue 10 million shares of VMS Rehab systems stock to
PATEL via a physical share certificate.

h. On or about November 22, 2016, WEXLER issued, or caused
to be issued, a press release from VMS Rehab Systems announcing a planned
acquisition of an electronic health company.

i. On or about December 21, 2016, PATEL sold, or caused to
be sold, 5,321,434 shares of VMS Rehab Systems through his brokerage

account for proceeds of $183,057.33.

 

 
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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.277 Page 8 of 18

cg 4. On or about December 23, 2016, PATEL transferred $56,500
from his bank account to a Company 1 bank account controlled by CW-1.
k. On or about December 23, 2016, CW-1 transferred $29,700
from a Company i bank account to an Optimus Prime bank account controlled
by SRIPETCH.
| 1. On or about December 23, 2016, PATEL wired, or caused to
be wired, $9,000 from an IOLTA he controlled to a Spectrum Global bank
account controiled by WEXLER.
All in violation of Title 18, United States Code, Section 371.

Count 2 - Securities Fraud

 

(Title 15, U.S.C., Secs. 783 (b), 78ff£, and
Title 17, C.F.R., Sec. 240.10b-5)

15. The allegations set forth in paragraphs 1 through 10 are re-
alleged as if fully set forth herein.

16. Beginning on a date unknown to the Grand Jury but no later
than September 2014, and continuing until on or about January 2017,
within the Southern District of California and elsewhere, defendants
ONGKARUCK SRIPETCH, aka King Richards, aka Shelby Saint Claire, MICHARL
WEXLER, and ASHMIT PATEL did knowingly and wilifully, directly and
indirectly, by the use of the means and instrumentalities of interstate
commerce and of the mails, use and employ manipulative and deceptive
devices and contrivances in connection with the purchase and sale of
securities issued by VMS Rehab Systems, in violation of Title 17, Code
of Federal Regulations, Section 240.10b-5, by (a} employing devices,
schemes and artifices to defraud, (b) making and causing to be made
untrue statements of material fact, and omitting to state material facts
necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading, and (c)

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.278 Page 9 of 18

engaging in acts, practices, and courses of business which operated and
would operate as a fraud and deceit upon any persons, including members

of the investing public and sellers and purchasers of VMS Rehab Systems’

securities.
17. Paragraph 11 through 13, and all subparagraphs, of Count 1 are
realleged and incorporated by reference as more fully describing the

manipulative and deceptive devices and contrivances used in connection
with the purchase and sale of securities.
All in violation of Title 15, United States Code, Sections 784(b) and
78ff, and Title 17, Code of Federal Regulations, Section 240.10b-5.
Counts 3-5 - Manipulative Securities Trading, Aiding & Abetting
(Title 15, U.S.C., Secs. 78i(a) (1), and 78ff;
Title 18, U.S.C., Sec. 2)

18. The allegations set forth in paragraphs 1 through 14 are
realleged as if fully set forth herein.

19. On or about the dates iisted below, in connection with the
securities transactions described below, within the Southern District
of California and elsewhere, defendant ONGKARUCK SRIPETCH, aka King
Richards, aka Shelby Saint-Claire, aided and abetted manipulative
securities trading by CW-1, who did knowingly and willfully, directly
and indirectly, by the use of the mails and any means and instrumentality
of interstate commerce, and of any facility of any national securities
exchange, for the purpose of creating a false and misleading appearance
of active trading in any security other than a government security, and
a false and misleading appearance with respect to the market for any
such security, (a) entered an order and orders as set forth below for
the purchase cf such security with the knowledge that an order and orders

of substantially the same size, at substantially the same time, and at

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.279 Page 10 of 18

substantially the same price, for the sale of any such:security, vhad
been and would be entered by and for the same and different parties, and
(b) entered an order and orders as set forth below for the sale of such
security with the knowledge that an order and orders of substantially
the same size, at substantially the same time, and at substantially the
same price, for the purchase of such security, had been and would be

entered by and for the same and different parties:

 

Count | Date Trade Order and Time (Hastern)

 

3 April 29, 2016 At or around 12:58 p.m., CW-1 entered
an order to seli VMS Rehab Systems
stock from a brokerage account held

in CW-1’s name.

 

4 May 18, 2016 At or around 2:48 p.m., SRIPETCH
entered an order to sell VMS Rehab
Systems stock from a brokerage

account held in CW-1’s name.

 

5 May 23, 2016 At or around 3:14 p.m., CW-1 entered
an order to purchase VMS Rehab
Systems stock from a brokerage

account held in CW-1’s name.

 

 

 

 

 

All in violation of Title 15, United States Code, Sections 78i{a) (1),
and 78ff, and Title 18, United States Code, Section 2.

Count 6 ~- Conspiracy

 

(18 U.S.C. § 371)
20. Paragraphs 1 through 10 of the Introductory Allegations above

are realleged as if fully set forth herein.

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.280 Page 11 of 18

21. Beginning on a date unknown to the Grand Jury but no later
than March 2018, and continuing until in or around March 2019, within
the Southern District of California and elsewhere, defendants ONGKARUCK
SRIPETCH, aka King Richards, aka Shelby Saint-Claire, MICHARL WEXLER,
and ANDREW MCALPINE, and other individuals and entities known and unknown
to the Grand Jury, did knowingly and intentionally conspire to commit
offenses against the United States, that is,

a. securities fraud, namely, to knowingly and willfully,
directly and indirectly, by the use of the means and instrumentalities
of interstate commerce and of the mails, use and employ manipulative and
Geceptive devices and contrivances in connection with the purchase and
sale of securities by (a) employing devices, schemes and artifices to
defraud, (5) making and causing to be made untrue statements of material
fact, and omitting to state material facts necessary in order to make
the statements made, in light of the circumstances under which they were
made, not misleading, and {(c) engaging in acts, practices, and courses
of business which operated and would operate as a fraud and deceit upon
any persons, including members of the investing public and sellers and
purchasers of the securities of Argus Worldwide in violation of Title 15,
United States Code, Sections 783 (b), 78ff, and Title 17, Code of Federal
Regulations, Section 240.10b-5; and

b. manipulative securities trading, namely, to knowingly and
willfully, directly and indirectly, by the use of the mails and any
means and instrumentality of interstate commerce, and of any facility
of any national securities exchange, (1) for the purpose of creating a
false and misleading appearance of active trading in any security other
than a government security, and a false and misleading appearance with

respect to the market for any such security, {a) entering an order and

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.281 Page 12 of 18

orders for the purchase of such: security with the knowledge that an
order and orders of substantially the same size, at substantially the
same time, and at substantially the same price, for the sale of any such
security, has been and will be entered by and for the same and different
parties, and (b) entering any order and orders for the sale of any such
security with the knowledge that an order and orders of substantially
the same size, at substantially the same time, and at substantially the
same price, for the purchase of such security, has been and will be
entered by and for the same and different parties, in violation of
Title 15, United States Code, Sections 78i(a){1) and 78ff.
MANNER AND MEANS OF THE CONSPIRACY

22. %In furtherance of their conspiracy, and to effect its objects,
SRIPETCH, WEXLER, and MCALPINE used the following manner and means,
among others:

a. WEXLER gave 1.5 million shares of Argus Worldwide stock
to CW-1, and falsely represented in a letter relied on by a brokerage
firm that “no repayment is expected or implied in this gift.”

b. CW-1 deposited 800,000 of the 1.5 million shares into one
of his personal brokerage accounts. CW-1 transferred 700,000 of the
1.5 million shares to MCALPINE, who deposited the shares into his
Offshore Brokerage Account.

c. SRIPETCH and MCALPINE engaged in manipulative trading in
the stock of Argus Worldwide for the purpose of creating a false or
misleading appearance of active trading in Argus Worldwide stock, anda
false or misleading appearance with respect to the market for Argus
Woridwide stock.

d. WEXLER, in coordination with SRIPETCH and CW-1, issued

press releases about Argus Worldwide in order to generate interest in

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.282 Page 13 of 18

the company and its stock, and to provide material to be used in third-
party promotions of Argus Worldwide stock.

Ce. SRIPTECH promoted, and caused the promotion of, Argus
Worldwide and its stock in order to artificially avoid the deflation of,
maintain, and inflate the share price of Argus Worldwide stock.

£, CW-1, MCALPINE, and SRIPETCH sold Argus Worldwide stock
from their respective brokerage accounts into the open market at inflated
prices, which the defendants manipulated by promoting Argus Worldwide
and its stock without disclosing their plan to sell such stock during
the promotions and after a period of manipulative trading.

g. After selling Argus Worldwide stock, CW-1 transferred the
proceeds from his personal brokerage account to a Company 1 bank account
controlled by CW-1l. CW-1 then transferred a portion of the proceeds to
accounts controlled by SRIPETCH and WEXLER, including through
intermediaries.

ne WEXLER and CW-1 created fake loan agreements designed to
disguise the true source of a portion of the stock proceeds transferred
to accounts controlled by WEXLER.

OVERT ACTS
23. In furtherance of the conspiracy and to effect and accomplish
the objects thereof, the following overt acts, among others, were
committed within the Southern District of California and elsewhere:

a. On or about March 1, 2018, WEXLER signed a letter to CW-1
stating that he was giving 1.5 million shares of Argus Worldwide to
Cw-1.

b. On or about April 3, 2018, CW-1 deposited 800,000 of the
1.5 miliion shares of Argus Worldwide into his personal brokerage

account.

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.283 Page 14 of 18

c. On’ ore about April 10, 2018, around 12:33 p.m., SRIPETCH
entered an order to sell Argus Worldwide stock from a brokerage account
held in the name of another individual for $3.45 per share. Around
12:33 p.m., SRIPETCH entered an order to buy Argus Worldwide stock from
a brokerage account held in SRIPETCH’s name for $3.45 per share. A
corresponding trade for 400 shares at $3.45 per share was executed in
the market.

d. On or about April 20, 2018, around 2:28 p.m., SRIPETCH
entered an order to sell Argus Worldwide stock from a brokerage account
held in SRIPETCH’s name for $3.68 per share. Around 2:28 p.m., SRIPETCH
entered an order to buy Argus Worldwide stock from a different brokerage
account held in SRIPETCH’s name for $3.68 per share. A corresponding
trade for 250 shares at $3.68 per share was executed in the market.

e. On or about May 3, 2018, SRIPETCH wired, or caused to be
wired, $23,000 from an Adtron bank account to Company 2 to facilitate a
promotion of Argus Worldwide and its stock.

f. On or about May 14, 2018, WEXLER sent CW-1 an encrypted

message stating: “Any thoughts on our market? I am gearing for another

release or two before month end.” CW-1 replied: “Yes, please release.
We should get one more push in before end of month, having PR before
that event will help demonstrably.”

g. On or about May 22, 2018, WEXLER issued, or caused to be
issued, a press release discussing its “global aggregator,” which
purportedly would “make available to the user a host of new and widely
used Internet based applications on a single . . . platform shaping the

company’s reputation for enhancing the digital experience on line.”

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.284 Page 15 of 18

he On or about June 7, 2018, CW-1l sent an encrypted message
to WEXLER stating: “Not a big push today, just spending money to boost
the stock price and create higher average volumes.”

i. On or about June 16, 2018, WEXLER sent an encrypted
message to CW-1 stating: “do I understand you correctly that the plan
now is to run another promo in a couple of weeks?”

j. On or about July 9, 2018, CW-1 sent a spreadsheet to
WEXLER through an encrypted communication that listed all of CW-1’s
sales of Argus Worldwide stock on July 5 and 6, 2018, and the three-way
split of the profits between SRIPETCH, WEXLER, and CW-1.

k. On or about October 25, 2018, MCALPINE deposited 700,000
shares of Argus Worldwide stock that he received from CW-1 into his
offshore brokerage account.

L. On or about November 1, 2018, WEXLER sent an encrypted
communication to CW-1 stating that he was working on what “would under
normal circumstances be a genuine market moving story” that would give
“powerful ammo for [SRIPETCH] to move the stock much higher when the
story breaks.”

m. On or about November 5, 2018, MCALPINE sold, or caused
to be sold, 12,500 shares of Argus Worldwide stock through his Offshore
Brokerage Account for proceeds of $9,065.80.

n. On or about January 14, 2019, SRIPETCH sent an encrypted
communication to MCALPINE and CW-i instructing MCALPINE to place an
order to sell 5,000 shares of Argus Worldwide stock at $0.35 per share.

Oo. On or about January 14, 2019, SRIPETCH entered an order
to buy Argus Worldwide stock from a brokerage account held in SRIPETCH’s
name for $0.35 per share. A corresponding trade for 5,000 shares at

$0.35 per share was executed in the market.

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.285 Page 16 of 18

pe p. On or about January 17, 2019, CW-1 sent an encrypted

communication to SRIPETCH and MCALPINE containing a screenshot of a
previous communication between CW-1 and WEXLER about the timing of an
upcoming Argus Worldwide press release.

q- On or about January 17, 2019, SRIPETCH wired, or caused
to be wired, $45,000 from an Adtron bank account to Company 2, $22,500
of which was to facilitate a promotion of Argus Worldwide and its stock.

rt. On or about February 4, 2019, MCALPINE sold, or caused
to be sold, 155,000 shares of Argus Worldwide stock through his Offshore
Brokerage Account for proceeds of $94,618.26.

Ss. On or about February 4, 2019, SRIPETCH sold, or caused
to be sold, 193,950 shares of Argus Worldwide stock through his brokerage
account for proceeds of $119,625.96,

t. On or about March 20, 2019, SRIPETCH wired, or caused to
be wired, $33,392.25 from an Adtron bank account to a Spectrum Global
bank account controlled by WEXLER.

All in viclation of Title 18, United States Code, Section 371.

Count 7 - Securities Fraud

 

(Title 15, U.S.C., Secs. 78j(b), 78ff, and
Title 17, C.F.R., Sec. 240.10b-5)

24. The allegations set forth in paragraphs 1 through 10 are re-
alleged as if fully set forth herein.

25. Beginning on a date unknown to the Grand Jury but no later
than March 2018, and continuing until in or about March 2019, within the
Southern District of California and elsewhere, defendants ONGKARUCK
SRIPETCH, aka King Richards, aka Shelby Saint Claire, MICHAEL WEXLER,
and ANDREW MCALPINE did knowingly and willfully, directly and

indirectly, by the use of the means and instrumentalities of interstate

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.286 Page 17 of 18

commerce and of the mails, use and employ manipulative and deceptive
devices and contrivances in connection with the purchase and sale of
securities issued by Argus Worldwide, in violation of Title 17, Code of
Federal Regulations, Section 240.190b-5, by (a) employing devices,
schemes and artifices to defraud, (b} making and causing to be made
untrue statements of material fact, and omitting to state material facts
necessary in order to make the statements made, in light of the
circumstances under which they were made, not misleading, and (c)
engaging in acts, practices, and courses of business which operated and
would operate as a fraud and deceit upon any persons, including members
of the investing public and sellers and purchasers of Argus Worldwide’s
securities.

26. Paragraphs 20 through 22, and all subparagraphs, of Count 6
are realleged and incorporated by reference as more fully describing the
manipulative and deceptive devices and contrivances used in connection
with the purchase and sale of securities.

All in violation of Title 15, United States Code, Sections 784 (b), 78ff,
and Title 17, Code of Federal Reguiations, Section 240.10b-5.

FORFEITURE ALLEGATIONS

 

2/. The allegations contained in paragraphs 1 through 10 and
Counts 1 through 7 of this Indictment are realleged and incorporated by
reference for the purpose of alleging forfeiture to the United States
pursuant to Title 18, United States Code, Section 981lfa)(1)(C) and
Title 28, United States Code, Section 2461{(e).

28. Upon conviction of one or more of the offenses set forth in
Counts 1 through 7, defendants ONGKARUCK SRIPETCH, aka King Richards,
aka Shelby Saint-Claire, MICHAFI WEXLER, ASHMIT PATEL, and ANDREW
MCALPINE shall forfeit to the United States any property, real and

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Case 3:20-cr-00160-H Document1 Filed 01/08/20 PagelD.287 Page 18 of 18

personal, which constitutes or is derived from proceeds traceable to the
violations.

29. Pursuant to Title 28, United States Code, Section 246i (c}
which incorporates the provisions of Title 21, United States Code,
Section 853(p), the defendants shall forfeit substitute property, up to
the value of the amounts described above, if, as a result of any act or
omission of the defendants, the property described above, or any portion
thereof, cannot be located upon the exercise of due diligence; has been
transferred, sold to, or deposited with a third party; has been placed
beyond the jurisdiction of this court; has been substantially diminished
in value; or has been commingled with other property which cannot be
divided without difficulty.

All pursuant to Title 18, United States Code, Section 981{a)(1}(C} and
Title 28, United States Code, Section 2461(c).

DATED: January 8, 2020.

ROBERT 5S. BREWER, JR.
United States Attorney

 

By

 

ANDREW AD. GALVIN
AARON “P. ARNZEN
Assistant U.S. Attorneys

18

 

 
